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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                     *
 vs.                                               *   Case No.: 21-15-APM
 THOMAS EDWARD CALDWELL                            *
        *       *       *      *       *       *       *      *       *      *       *

                                              ORDER
        Upon consideration of the Defendant’s Unopposed Motion to Amend Conditions of
 Release, it is hereby ordered by the United States District Court for the District of Columbia that
 the Motion be GRANTED and that the Defendant, with approval by Pretrial Services, be
 permitted to remove his location monitor prior to surgery on May 17, 2022. The Defendant is
 further ordered to have the location monitor reattached upon his discharge from the hospital as
 coordinated with his Pretrial Services officer. It is further ordered that the Defendant is excused
 from appearing at the 12(b) motions hearing scheduled for May 17, 2022, as he has, through
 counsel, waived his appearance.




        __________________                     ____________________________________
        Date                                   Honorable Amit P. Mehta
                                               United States District Court
